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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     )
                                             )
       v.                                    )      Criminal No.: 1:18-CR-00170 (KBJ)
                                             )
JAMES A. WOLFE                               )


                        NOTICE OF CHANGE OF FIRM ADDRESS


       PLEASE TAKE NOTICE THAT effective April 29, 2019, Buckley LLP has moved to a

new office at 2001 M St., N.W., Suite 500, Washington, DC, 20036. All future contact or mailings

to the Firm in this matter should be to this new location. The Firm’s telephone numbers, facsimile

number and e-mail addresses remain the same and have not been affected by this change.


Dated: April 30, 2019                               Respectfully submitted,


                                                    _______/s/ Preston Burton______________
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                                                    Counsel for Defendant James Wolfe
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                                CERTIFICATE OF SERVICE


       I hereby certify that on the 30th day of April, 2019, I caused a true and correct copy of

the foregoing Notice of Change of Firm Address, to be filed with the Clerk of Court using the

CM/ECF filing system.


                                                     _______/s/ Preston Burton______________
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